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                              UNITED STATES BANKRUPTCY COURT
                                                   Southern District of Georgia

In re:                                                                                   Case No.: 23−10171−SDB
James Michael Rhaesa,                                                                    Judge: Susan D. Barrett
       Debtor.
                                                                                         Chapter: 13


                                           NOTICE OF CONTINUED HEARING

The Hearing on Chapter 13 Plan, Objection to Confirmation by Trustee originally scheduled May 8, 2023 has been continued to:

                                                        June 26, 2023, at 02:00 PM,
                                                          U.S. Bankruptcy Court,
                          Federal Justice Center, Plaza Bldg, 600 James Brown Blvd (9th St), Augusta, GA 30901.

All other provisions of the original notice remain in full force and effect.



                                                                                        Lucinda Rauback, Clerk
                                                                                        United States Bankruptcy Court
                                                                                        Federal Justice Center
                                                                                        600 James Brown Blvd
                                                                                        P.O. Box 1487
                                                                                        Augusta, GA 30903

Dated: May 22, 2023




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